Case 2:16-md-02687-MCA-MAH Document 1461 Filed 11/25/20 Page 1 of 2 PageID: 37275




                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   IN RE: LIQUID ALUMINUM SULFATE                         16-md-2687 (JLL) (JAD)
   ANTITRUST LITIGATION

   This Document Relates to: ALL ACTIONS


    MOTION TO WITHDRAW MARK A. GRIFFIN AND RAYMOND J. FARROW AS
     COUNSEL OF RECORD FOR PLAINTIFFS CITY OF SACRAMENTO, CITY OF
   TACOMA, CITY OF SPOKANE, CITY OF EVERETT, CITY OF SCOTTSDALE, CITY
                      OF PHOENIX, AND CITY OF MESA

          Keller Rohrback LLP respectfully moves the Court to withdraw the appearances of Mark

   A. Griffin and Raymond J. Farrow as counsel of record for Plaintiffs City of Sacramento, City of

   Tacoma, City of Spokane, City of Everett, City of Scottsdale, City of Phoenix, and City of Mesa

   in the above-captioned matter. Daniel Mensher, Lynn Sarko, and Derek Loeser of Keller

   Rohrback LLP will continue to represent Plaintiffs in this matter, to whom all further

   communications and notices to Plaintiffs should be directed.

   RESPECTFULLY SUBMITTED this 25th day of November, 2020.


                                                s/Mark A. Griffin
                                                Mark A. Griffin
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                                                Attorneys for City of Sacramento, City of Tacoma,
                                                City of Spokane, City of Everett, City of Scottsdale,
                                                City of Phoenix, and City of Mesa




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Case 2:16-md-02687-MCA-MAH Document 1461 Filed 11/25/20 Page 2 of 2 PageID: 37276




                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 25, 2020, I electronically filed the foregoing with the

   Clerk of the Court using the CM/ECF system which will send notification of such filing to all

   counsel of record registered with the CM/ECF system.


                                                   /s/ Mark A. Griffin
                                                   Mark A. Griffin




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